                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                    NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                      )
                                               )
          v.                                   )            CERTIFICATION RE:
                                               )         STANDING ORDER (COVID-19)
 LEONID ISAAKOVICH TEYF                        )



       Pursuant to the DE 535, counsel for Defendant Leonid Teyf hereby certifies as follows:

       Counsel, anyone working under counsel's direction whose entry into the courthouse will

be required, and any anticipated witness for the party represented is 1) knowledgeable of the

standing order's terms; 2) compliant at present with terms permitting entry into the United States

Courthouse at New Bern; and 3) cognizant of the continuing obligation to monitor and report

should any issue bearing on entry arise prior to any scheduled courthouse visit.

       Respectfully submitted, this the 13th day of March, 2020.


                                             /s/ F. Hill Allen
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                                               Counsel for Defendant

                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of March, 2020, I electronically filed the foregoing

COVID-19 CERTIFICATION with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to all counsel of record.



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